Filed 11/26/24                          Case 23-23940                               Doc 231



                               UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF CALIFORNIA
                                        CIVIL MINUTES
            _____________________________________________________________________
            Case Title: Capsity, Inc.             Case No.: 23-23940 - B - 11
                                                  Docket Control No. CAE-1
                                                  Date: 11/26/2024
                                                  Time: 11:00 AM

            Matter: Continued Status Conference Re: Voluntary Petition - [1] -
            Chapter 11 Voluntary Petition Non-Individual. (Fee Paid $1738.00)
            (pdes) Additional attachment(s) added on 11/2/2023 (Desmond, Pete).

            Judge: Christopher D. Jaime
            Courtroom Deputy: Danielle Mobley
            Reporter: Electronic Record
            Department: B
            _____________________________________________________________________
            APPEARANCES for:
            Movant(s):

            Respondent(s):
            (by phone) Trustee - Lisa A. Holder; Trustee's Attorney - Estela O.
           Pino; (by phone) Debtor's Attorney - Gabriel E. Liberman; (by phone)
           Creditor's Attorney - Allan D Sarver; (by phone) Creditor's Attorney -
           Raymond H. Aver; Debtor/Client - Dimitry Godamunne
            _____________________________________________________________________
                                        CIVIL MINUTES


           Status conference Concluded, Case Dismissed
           Findings of fact and conclusions of law stated orally on the record
                 The court will issue an order.
